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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

GUADALUPE RIVER RESORT                        §
RANCH, LTD.,                                  §
                                              §
            Plaintiff,                        §
                                              §
VS.                                           §        CIVIL NO. 5:17-cv-1058
                                              §
PHILADELPHIA INDEMNITY                        §
INSURANCE COMPANY,                            §
                                              §
            Defendant.                        §

                         DEFENDANT’S NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Pursuant to 28 U.S.C. §§ 1332, 1441(b) and 1446(a), Philadelphia Indemnity

Insurance Company, the Defendant in the above-styled action, files this Notice of

Removal from the District Court of Kendall County, Texas, 451st Judicial District,

to the United States District Court for the Western District of Texas, San Antonio

Division.

                                      INTRODUCTION

      1.        Plaintiff is Guadalupe River Resort Ranch, Ltd. (“Plaintiff”).

      2.        Defendant Philadelphia Indemnity Insurance Company (“Defendant”)

is the only Defendant that Plaintiff has sued in this action.

      3.        Plaintiff commenced this first-party insurance case on August 31,

2017. Plaintiff has asserted causes of action arising under Texas law against

Defendant for allegedly breaching the insuring agreement, violating provisions of

the Prompt Payment of Claims Act codified at chapter 542 of the Texas Insurance
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Code, violating provisions of chapters 541 of the Texas Insurance Code, and breach

of the duty of good faith and fair dealing.

        4.         Defendant was served with process on September 20, 2017. Defendant

is therefore timely filing this Notice of Removal by removing this action “within

thirty days after receipt by the defendant, through service or otherwise, of a copy of

an amended pleading, motion, order or other paper from which it may first be

ascertained that the case is one which is or has become removable.” 28 U.S.C.

§ 1446(b)(3).

                                       VENUE IS PROPER

        5.         Pursuant to 28 U.S.C. § 1441(a), this action may be removed to this

Court because it is the district and division embracing Kendall County, Texas, the

county in which the state court action is pending.

                                      BASIS FOR REMOVAL

        6.         This is a civil action that falls under the Court’s original jurisdiction

pursuant to 28 U.S.C. § 1332(a) and is one that may be removed to this Court based

on diversity of citizenship in accordance with 28 U.S.C. §§ 1441 and 1446.

A.     Complete Diversity of Citizenship Exists Between Plaintiff and
       Defendant.

        7.         Plaintiff is a Texas corporation with its principal place of business in

Kendall County, Texas. Pl.’s Orig. Pet. ¶ 2, at 1 (included as a part of Exhibit 3).

        8.         Philadelphia is a corporation organized and existing under the laws of

the State of Pennsylvania. See Affidavit of Eugene Angiolillo, attached as Exhibit 1




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(attesting to the facts that Philadelphia is incorporated in and maintains its

principal place of business in Pennsylvania. See id.

        9.         Complete diversity of citizenship therefore exists between all plaintiffs

and all defendants.

B.     The Amount in Controversy Exceeds $75,000.

       10.         Plaintiff’s Original Petition alleges that “Plaintiff seeks monetary relief

over $1,000,000.” Pl.’s Orig. Pet. ¶ 5, at 2.

       11.         Plaintiff therefore seeks damages, exclusive of interest and attorney’s

fees, in excess of the jurisdictional minimum of $75,000.

C.     Removal Is Appropriate Under the Court’s Diversity Jurisdiction.

       12.         In light of these facts, the state court claim may be removed to this

Court because: (i) this action is a civil action pending within the jurisdiction of the

United States District Court for the Western District of Texas; (ii) none of the

parties in interest properly joined and served as defendants is a citizen of the State

in which such action is brought, 28 U.S.C. § 1441(b)(2); and (iii) the amount in

controversy exceeds $75,000, exclusive of interests and costs.

                                  FILING OF REMOVAL PAPERS

       13.         Pursuant to 28 U.S.C. § 1446(d), Defendant is providing written notice

of the filing of this Notice of Removal to all other counsel of record. Further,

Defendant is filing a copy of this Notice of Removal with the Clerk of the 451st

Judicial District Court of Kendall County, Texas, where Plaintiff commenced this

action.



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       14.         Defendant is filing the following items concurrently with this Notice of

Removal, or attaching them to this Notice of Removal as required by Western

District of Texas Local Rule 81.1: (a) a completed civil cover sheet, JS-44 (Exhibit

2); (b) an index of all documents that identifies each document and indicates the

date the document was filed in state court, and copies of each such document

(Exhibit 3); (c) all executed process in the case (Exhibit 4); a copy of the docket

sheet in the state court action (Exhibit 5); and (d) a list of all counsel of record

(Exhibit 6).

                                         CONCLUSION

         Based on the foregoing, Defendant Philadelphia Indemnity Insurance

Company gives notice to the Court of its removal of the above-captioned action from

the 451st Judicial District Court of Kendall County, Texas, and requests that

further proceedings be conducted in the United States District Court for the

Western District of Texas, San Antonio Division, as provided by law.


         Dated: October 19, 2017




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                                        Respectfully submitted,


                                              /s/ William R. Pilat
                                        William R. Pilat
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                                        ATTORNEY-IN-CHARGE FOR DEFENDANT
                                        PHILADELPHIA INDEMNITY INSURANCE
                                        COMPANY

OF COUNSEL:

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                            CERTIFICATE OF SERVICE

       I certify that on October 19, 2017, a true and correct copy of the foregoing
pleading was forwarded to all other counsel of record, as listed below, through the
electronic case filing system of the United States District Court for the Western
District of Texas:

         William T. Jones Jr.
         Robert D. Green
         Daniel P. Barton
         GREEN & BARTON
         1201 Shepherd Drive
         Houston, Texas 77007

                                              /s/ William R. Pilat
                                          William R. Pilat




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